




NO. 07-09-0064-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 20, 2009

______________________________



GUSTAVO MENDOZA GALLARDO,



Appellant



V.



THE STATE OF TEXAS,



Appellees

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FROM THE 64th DISTRICT COURT OF HALE COUNTY;



NO. A17752-0808; HON. ROBERT W. KINKAID, JR., PRESIDING

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ON ABATEMENT AND REMAND

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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Appellant Gustavo Mendoza Gallardo appeals from his conviction for the offense of driving while intoxicated. &nbsp;On May 11, 2009, the clerk’s record was filed. &nbsp;The reporter’s record was due on May 18, 2009. &nbsp;On May 26, 2009, this Court notified the reporter by letter that the record had not been filed and to advise the Court of the status of the record on or before June 5, 2009. &nbsp;On June 5, 2009, the reporter filed a motion for extension of time to file the record, which was granted to July 6, 2009, with the admonition that no further extensions would be granted. &nbsp;To date, no reporter’s record has been filed.

Accordingly, we abate this appeal and remand the cause to the 64th District Court of Hale County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine:

when the reporter’s record can reasonably be transcribed into written form and filed in a manner that does not further delay the prosecution of this appeal or have the practical effect of depriving the appellant of their right to appeal.





The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental clerk’s and reporter’s records transcribing the hearing with the clerk of this court on or before August 19, 2009. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before August 19, 2009.

It is so ordered.

Per Curiam



Do not publish.


